
PER CURIAM.
hThe Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent commingled personal funds with client funds in his two trust accounts, allowed the accounts to become overdrawn on. two occasions, and made a trust account check payable to “Cash” to accommodate a .client’s request. Prior to the filing of formal charges,- respondent and the ODC submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and'that Maurice D. Hall, Louisiana Bar Roll number 29894, be suspended from the practice of law for -a period of six months. This suspension shall be deferred in its entirety, subject to respondent’^ successful completion of a two-year period of probation governed by the conditions set forth in the petition for consent discipline. The probationary period shall commence from the date respondent and the ODC execute a formal probation plan. Any failure of respondent to comply with the conditions of probation, or. any .misconduct .during the probationary period,., may be grounds for making the deferred suspension executory, or imposing additional discipline, as appropriate.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal, interest to commence thirty days from the date of finality of this court’s judgment until paid.
